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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 PRESS ROBINSON, EDGAR CAGE,                      CIVIL ACTION
 DOROTHY NAIRNE, EDWIN RENE                       NO. 3:22-cv-00211-SDD-SDJ
 SOULE, ALICE WASHINGTON, CLEE
 EARNEST LOWE, DAVANTE LEWIS,                     Chief Judge Shelly D. Dick
 MARTHA DAVIS, AMBROSE SIMS,
 NATIONAL ASSOCIATION FOR THE                     Magistrate Judge Scott D.
 ADVANCEMENT OF COLORED PEOPLE                    Johnson
 (“NAACP”) LOUISIANA STATE
 CONFERENCE, AND POWER
 COALITION FOR EQUITY AND
 JUSTICE,

                           Plaintiffs,

       v.

 KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

                           Defendant.

 EDWARD GALMON, SR., CIARA HART,                  Consolidated with
 NORRIS HENDERSON, and TRAMELLE
 HOWARD,                                          CIVIL ACTION
                                                  NO. 3:22-cv-00214-SDD-SDJ
                           Plaintiffs,

       v.

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

                           Defendant.


   UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF AMICUS CURIAE
  IN SUPPORT OF NEITHER PARTY AND TO EXCEED THE PAGE LIMIT


      NOW INTO COURT, come proposed Amici Curiae, Michael Mislove, Lisa J.

Fauci, Robert Lipton, and Nicholas Mattei (the “Proposed Amici”), who for the reasons
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explained in the accompanying memorandum, respectfully request leave of Court to file

a brief amicus curiae in support of neither party and, in doing so, to exceed the page limit

for memoranda in Rule 7(g) of the Court’s Local Rules. The brief addresses issues that

are especially relevant to the remedial hearing scheduled for October 3 to 5, 2023.

       WHEREFORE, Proposed Amici respectfully request leave of Court to file the

attached brief amicus curiae in support of neither party and, in doing so, to exceed the

page limit for memoranda in Rule 7(g) of the Court’s Local Rules.



 Dated: September 15, 2023                       Respectfully submitted,

                                                 /s/ Judy Y. Barrasso_______________
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